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EXHIBIT I

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Roth, Melissa R.

From: Dickinsonl N|iche||e J.

Sent: N|onday, October 05, 2009 1122 PNi

To: isabel lV| Humphrey; Randy Yavitz; candess@hhy|aw.com
Cc: dludwig@dglega|.com; Roth. Me|issa R.

Subject: Loomis

Counse|:

We are concerned that your clients have several outstanding discovery issues that need to be addressed
completely before we begin depositions We would like to set up a call to discuss the following discovery issues:

¢ Responses to our letters dated September 9, 18, and 25 regarding denciencies in your clients‘ discovery
responses;

o Your clients' production of documents;
o |maging of computers; and
» Deposition dates

We can be available today at 3 p.m. EST or tomorrow at 4 p.m. EST. P|ease let me know if if either of
those times works for you. Thanks.
N|ichelle

10/'22/2009

